            IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                 MARYLAND

Nadine Lee Young
1636 E. 30th Street
Baltimore, MD 21218

v.                                                           Case #
                                                             JURY TRIAL DEMANDED
Housing Authority of Baltimore City
417 E Fayette St
Baltimore, MD 21202

and

Wade Johnson
3033 Cascade Dr
Abingdon, MD 21009


                                  AMENDED COMPLAINT

       Comes now the Plaintiff Nadine Young, by and through counsel, Cary J. Hansel of

Hansel Law, PC, and Annie B. Hirsch of Hirsch and Cosca, PC and sues the above-named

defendants, stating as follows:

                                       INTRODUCTION

       1)      This lawsuit is being filed as a result of persistent sexual abuse and harassment

perpetrated by a supervisor against Nadine Young in the workplace. The Housing Authority of

Baltimore City knew or had reason to know that Maintenance Superintendent Wade Johnson had

a history of inappropriate sexual behavior in the workplace yet hired and continued to employ

him to act in a supervisory capacity. His continued, daily sexual comments, unwanted touching

and advances created a hostile work environment for the Plaintiff and other women under his

supervision.




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        2)      The workplace sexual abuse and harassment perpetrated by Wade Johnson took

place in the context of the rampant abuse in the Gilmor Homes and other Housing Authority of

Baltimore City (“Housing Authority”) properties, where maintenance employees also

shamelessly preyed on innocent female tenants in widespread sex-for-repairs quid pro quo sexual

harassment. As in that case, supervisors attempted to cover up the harassing behavior.

        3)      The practice of covering up sexual harassment by maintenance workers is so

widespread that it is a pattern and practice by the Housing Authority, whose officials have

repeatedly turned their backs on city residents and on their own employees. For years, the

Housing Authority of Baltimore City has ignored numerous complaints and repeatedly allowed

abusers to maintain their positions of power.

        4)      Wade Johnson’s sexually harassing behavior was a daily occurrence in the

workplace which caused Nadine Young extreme mental duress, affected her ability to work

productively, affected her family life, put her in fear of losing her job, and put her in fear that he

would one day increase his sexual aggressiveness and do her harm. Nadine Young’s affidavit is

attached hereto as Exhibit 1 and incorporated herein in its entirety.

                                           JURISDICTION

        45)     Jurisdiction is proper in this Honorable Court under 28 U.S. Code § 1331 because

this is a civil action arising under the Constitution, laws, or treaties of the United States.

                                               VENUE

        56)     Venue is proper in this Honorable Court under 28 U.S.C. § 1391 because the

parties are domiciled in Maryland, or organized under Maryland law, and the events at issue took

place in Baltimore, Maryland.




                                                   2
                                           PARTIES

       67)    Nadine Lee Young is an adult citizen of Baltimore, Maryland.

       78)    The Housing Authority of Baltimore City is a public body corporate and politic

created under the laws of the State of Maryland.

       89)    The Housing Authority of Baltimore City is sui juris.

       910)   The Housing Authority of Baltimore City is an agency of the City of Baltimore.




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                           FACTS COMMON TO ALL COUNTS

       1011) Nadine Lee Young is a 46 year-old female employee of the Housing Authority of

Baltimore City.

       1112) Ms. Young has been employed by the Housing Authority since 2003, at all times

relevant to the instant action as a Maintenance Worker.

       1213) Ms. Young first had contact with and was first sexually harassed by Wade

Johnson at the Duncanwood facility in 2012, where she went to be issued a pair of steel-toed

shoes for work. While she was briefly there, she encountered Mr. Johnson who referred to her as

“Miss Dimples.”

       14)    Wade Johnson was known to be in the habit of making inappropriately suggestive

comments during his time working for the Housing Authority at Duncanwood.

       1315) Later, Mr. Johnson was occasionally on the premises of Ms. Young’s office at

Gilmor Homes, starting in or about October of 2015, and was increasingly present at Gilmor

homes in the following months, during which time the sexual harassment became worse.

       1416) Wade Johnson was permanently transferred to act as Ms. Young’s supervisor at

Gilmor Homes in early 2016. Plaintiff believes Mr. Johnson was transferred to Gilmor as a

result of his inappropriate behavior at Duncanwood.

       1517) The harassment started gradually in the period at the end of 2015 and the

beginning of 2016, increasing in frequency to become a daily problem, as Mr. Johnson would

repeatedly come to Ms. Young’s desk and whisper lewd comments into her ear and ask to take

her on dates. Mr. Johnson would also ‘talk with his hands’ in such a manner that he would place

his hands on Ms. Young while making such comments.




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        18)    Mr. Johnson would frequently invade Ms. Young’s personal space, coming into

the small file room without any justification, while she was working there.

        19)    Once while she was seated working on her computer, Mr. Johnson, under the

auspices of showing her something on the computer, reach over her body with his arms on either

side of her.

        20)    All of the unwanted touching and violations of Ms. Young’s physical space

caused Ms. Young to fear the Mr. Johnson would one day inappropriately touch her in a sexual

manner.

        1621) On one occasion, which he claimed to be his birthday, Mr. Johnson offered to

take Ms. Young and another employee, Keyonna Richardson, on a cruise, stating that he “could

make wonders happen on that cruise.”

        22)    Mr. Johnson frequently asked Ms. Young if she was ‘ready’ which she took to

mean ready for a sexual encounter with him. One time he even asked her this directly in front of

Ms. Richardson at a work-related function.

        1723) One of the final comments, on or about February 2016, Mr. Johnson stated to Ms.

Young that “I would love to taste that.”

        1824) Initially, Ms. Young was reluctant to make a complaint against her supervisor

because she was fearful of retaliation and of losing her job. She was out of work for surgery in

February of 2016. When she returned, Mr. Johnson informed her that she would be working at a

different site, the Perkins Project. He gave her his phone number and asked her to use it, which

Ms. Young understood to mean that she should contact him for a date or sexual encounter.

        25)    Ms. Young contacted her Union representatives regarding the sexual harassment

by Mr. Johnson.



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       1926) After making her Union representatives aware of Mr. Johnson’s unacceptable

actions, Ms. Young learned of more co-workers who were sexually harassed by him.

       2027) Ms. Young also learned that Mr. Johnson was the cousin of a Human Resources

Director working for the Housing Authority, Mona Brown.

       2128) Ms. Young spoke to her supervisor, Vernelle Gibson, in May 2016 regarding Mr.

Johnson, which, either alone or in conjunction with other complaints against him, resulted in a

hearing. After that hearing, Wade Johnson’s employment was terminated by the Housing

Authority.

       29)     During the investigation of Mr. Johnson’s behavior, it was learned that several

people from several different departments had complained of or were aware of Mr. Johnson’s

constant inappropriate sexual commentary at multiple Housing Authority sites.

       2230) Plaintiff timely filed with the EEOC, which issued a Dismissal and Notice of

Rights letter on December 16, 2016.

       Additional Facts

       2331) Wade Johnson was, at all times relevant to the instant action, an employee of the

Housing Authority of Baltimore City, acting under color of State and local law.

       2432) Wade Johnson knew or should have known that his sexual advances were

unwelcome.

       2533) At all times relevant hereto, the Housing Authority of Baltimore City knew or

should have known of the harassment and abuse taking place in their workplace. Ample notice

was provided by Mr. Johnson’s previous history of workplace sexual harassment; Mr. Johnson

was fired from a previous job in the public schools for sexual harassment and had pending sexual

harassment cases at the Health Department.



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       34)     The Housing Authority failed to make adequate inquiries into Mr. Johnson’s prior

employment and failed to enact effective policies to keep him from serially harassing multiple

people at multiple locations while under their employ.

       35)     Mr. Johnson was well-known for engaging in inappropriate conversations in the

workplace and this behavior may have contributed to the decision to transfer him away from the

Duncanwood site.

       2636) The abuses outlined herein are not limited Ms. Young; she was present for the

sexual harassment of one other co-worker and has learned of at least one more, both by Mr.

Johnson. The Affidavit of LaTanya Dawson is attached hereto as Exhibit 2.

       2737) The Plaintiff has suffered severe mental pain, suffering and anguish as a result of

all of these abuses. This mental pain manifests itself as evidenced by physical symptoms such as

loss of sleep, nervousness, and panic attacks. The Plaintiff has been and continues to be treated

by a psychiatrist for major depression and anxiety related to the harassment and abuse by Mr.

Johnson and a previous incident of sexual harassment while working for the Housing Authority.

       2838) Plaintiff has suffered from a hostile work environment created by the defendants.

The Plaintiff was subject to a hostile environment repeatedly through lewd and lascivious

requests and comments from her supervisor both openly and in close physical proximity.

Plaintiff feared being in the presence of her harasser and felt intimidated by him. Due to the

harassment, she was humiliated in front of her coworkers to such a degree that she would take

her lunch breaks in her work truck rather than the common break room.

       39)     Since the termination of Mr. Johnson, Ms. Young has returned to work at Gilmor

homes, which she now finds to be a much more peaceful environment, where she is more

productive, has better morale, and often takes the opportunity to work overtime. This was not



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the case in the hostile work environment created by Defendants while Mr. Johnson was her

supervisor.

        2940) Defendants have subjected Ms. Young to discrimination on the basis of sex,

including severe, pervasive, and unwelcome sexual harassment, on multiple occasions. Such

conduct has included, but is not limited to making unwelcome sexual comments and unwelcome

sexual advances.

        3041) The discriminatory incidents described herein occurred while Wade Johnson was

exercising his authority as an supervisory employee of the Housing Authority.

        3142) Defendant the Housing Authority is liable for the actions of Wade Johnson. The

Housing Authority hired Wade Johnson, knew or should have known of his history of workplace

sexual harassment, knew or should have known of his discriminatory conduct, had the authority

to take preventive and corrective action, and failed to take reasonable preventive or corrective

measures.

        3243) Defendants’ conduct described above constitutes a pattern or practice of

resistance to the full enjoyment of the rights granted by the Civil Rights Act, 42 U.S.C. §§ 2000,

et seq. which denial raises an issue of general public importance.

        3344) Defendants’ conduct was intentional, willful, and taken in reckless disregard of

the rights of others.

        45)     All conditions precedent have been met.




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                                     CLAIMS FOR RELIEF

                          COUNT I – CIVIL RIGHTS ACT
                  HOSTILE ENVIRONMENT SEXUAL HARRASSMENT
                              (Against All Defendants)

       3446) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       3547) The Plaintiff is a woman and, thus, a member of a protected class.

       3648) Plaintiff was employed by the Housing Authority at all times relevant to the

instant action and is still so employed.

       3749) Plaintiff was repeatedly subjected to unwelcome and offensive comments,

suggestions, touching, and invitations by Wade Johnson.

       3850) Wade Johnson’s harassing behavior was based on Plaintiff’s sex and the

inappropriate conduct was unwarranted and unwanted by Plaintiff.

       3951) The harassment occurred with a high frequency involving repeated daily or near-

daily occurrences, demands, and statements.

       4052) The harassment often rises to the level of being physically threatening or

humiliating, with Mr. Johnson whispering lewd comments directly into Plaintiff’s ear, engaging

in unwanted touching, and also making lewd statements and inappropriate suggestions out loud

where other coworkers can hear him.

       53)     Mr. Johnson acted with ill-will and improper motive, furthering his prurient self-

interest in subjecting Ms. Young to his sexual harassment.

       4154) The harassment was sufficiently pervasive and severe as to alter the conditions of

Plaintiff’s employment and to create a hostile, intimidating, and/or abusive work environment

and has the effect of unreasonably interfering with Plaintiff’s employment.



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         4255) Defendant Housing Authority allowed Mr. Johnson to sexually harass Plaintiff

and/or failed to take immediate and appropriate corrective action when notified about Mr.

Johnsons’ sexually harassing behavior, either at Gilmor Homes or another location, and/or hired

Mr. Johnson knowing his history of workplace sexual harassment.

         4356) Defendants aforementioned actions constitute discrimination, on the basis of her

Plaintiff’s sex, with respect to the terms, conditions, or privileges of Plaintiff’s employment.

         4457) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

         4558) Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.




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                              COUNT II – CIVIL RIGHTS ACT
                          QUID PRO QUO SEXUAL HARRASSMENT
                                  (Against All Defendants)

         4659) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

         4760) Sex or sexual favors were demanded of the female Plaintiff by the supervisor in

control of her employment. These demands were unwelcome. Similar demands were not made

of male residents.

         4861) Plaintiff was concerned that she would lose her job if she reported or resisted the

actions of Wade Johnson.

         6162) Mr. Johnson acted with ill-will and improper motive, furthering his prurient self-

interest in subjecting Ms. Knox to his sexual harassment and quid pro quo demands.

         4963) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

         5064) Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.




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                                 COUNT III – CIVIL RIGHTS
                                 ACT DUE PROCESS CLAIM
                                   (Against All Defendants)

       5165) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       5266) The defendants were, at all relevant times, acting “under color of law,” pursuant

to Baltimore City’s charter, codes, ordinances and regulations.

       5367) The Plaintiff was deprived of her constitutional rights as well as her rights as

described above under the Civil Rights Act, a federal statute.

       5468) With respect to the United States Constitution, the Plaintiff was denied the right to

due process of law insofar as her employer, a government agency, hired a known sexual harasser

to act as her supervisor and as an agent of the government.

       5569) The Plaintiff has a liberty interest in the right to be secure in her person in the

workplace. This interest was violated when Mr. Johnson physically touched the Plaintiff and/or

approached the Plaintiff to make lewd comments in her ear, threatening her physical safety and

security, and creating a hostile environment through continued and excessive sexual harassment.

       5670) There are no adequate procedural safeguards in place to prevent this abuse.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.




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                                COUNT IV – CIVIL RIGHTS
                             ACT EQUAL PROTECTION CLAIM
                                  (Against All Defendants)

       5771) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       5872) The female Plaintiff was treated differently than her similarly-situated male

counterparts, based solely on her sex.

       5973) The Plaintiff was singled out for harassment by the defendants. Similarly situated

males suffer no similar harassment.

       6074) There is not a rational basis, legitimate state purpose, or compelling governmental

interest in the harassment and discrimination at issue.

       6175) The Plaintiff was being intentionally singled out because of her sex. As such, she

is a member of a suspect classification and the harassment must be viewed with strict scrutiny.

       6276) The harassment at issue interferes with the Plaintiff’s fundamental rights to

physical security, to be secure in her workplace and to privacy.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

            COUNT V – SEXUAL HARASSMENT UNDER MARYLAND
                      FAIR EMPLOYMENT PRACTICES ACT
       CODE § 20-606: HOSTILE WORK ENVIRONMENT AND QUID PRO QUO
                             (Against All Defendants)

       6377) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       6478) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

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         6579) Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                         COUNT VI – MARYLAND CONSTITUTION
                         ARTICLES 24 & 26 DUE PROCESS CLAIM
                                (Against All Defendants)

         6680) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

         6781) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.


                       COUNT VII – MARYLAND CONSTITUTION
                     ARTICLES 24 & 26 EQUAL PROTECTION CLAIM
                                (Against All Defendants)

         6882) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

         6983) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

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                            COUNT VIII – NEGLIGENT HIRING,
                          TRAINING, RETENTION & SUPERVISION
                            (Against Defendant Housing Authority)

          7584) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

          7685) Defendant Housing Authority of Baltimore City bears direct responsibility for the

hiring, retention and supervision of Wade Johnson.

           7786) Defendant Housing Authority of Baltimore City knew or should have known,

prior to hiring Mr. Johnson, that he was unfit for the duties of his job and dangerous to the

Plaintiff and other female coworkers. Mr. Johnson was previously terminated from employment

for sexual harassment and under ongoing investigation regarding further sexual harassment

claims.

          7887) Defendant Housing Authority of Baltimore City failed to diligently investigate

Mr. Johnson prior to hiring him and/or knowingly overlooked his history of sexual harassment.

          7988) Defendant Housing Authority of Baltimore City failed to exercise their duty to

provide any training sufficient to prevent the sexual harassment and other misconduct outlined

herein.

          8089) Defendant Housing Authority of Baltimore City failed to exercise their duty to

properly supervise Mr. Johnson so as to prevent the sexual harassment and other misconduct

outlined herein.

          90)    Defendant Housing Authority intentionally tried to cover up or divert attention

from Mr. Johnson’s inappropriate behavior at other Housing Authority sites by transferring him

to Gilmor Homes, exposing Plaintiff and other co-workers to sexual harassment by him.




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       8191) Defendant Housing Authority of Baltimore City knew or should have known of

the numerous complaints against Mr. Johnson. These complaints clearly illustrated Mr.

Johnson’s unfitness for the duties of his job and his dangerousness to the women in question.

Yet, Defendant Housing Authority of Baltimore City violated their duty to terminate the

employment of Mr. Johnson until well after the harassment had occurred.

        8292) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                        COUNT IX – NEGLIGENT ENTRUSTMENT
                          (Against Defendant Housing Authority)

       8393) All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       8494) Defendant Housing Authority of Baltimore City bears direct responsibility for

entrusting supervisors with keys to, inter alia, the Plaintiff’s office and the power over the

Plaintiff which Wade Johnson wielded.

       8595) Defendant Housing Authority of Baltimore City knew or should have known,

prior to entrusting Mr. Johnson that he could not be trusted with such access or authority.

       8696) Defendant Housing Authority of Baltimore City breached their duty to permit

only qualified individuals to have keys and access to the Plaintiff’s office as well as the other

power over the Plaintiff with which Mr. Johnson was entrusted.

       8797) Wade Johnson abused his access and authority to approach the Plaintiff in order

to make lewd comments in her ear and proposition her in her place of employment.

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       8898) As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                                        COUNT X – ASSAULT
                                   (Against Defendant Wade Johnson)

       99)     All paragraphs of this complaint, whether found above or below, not falling under

this count, are incorporated herein by reference as if fully stated under this count.

       100)    The constant sexually inappropriate commentary by Wade Johnson, coupled with

the occasional unwanted touching and invasion of Plaintiff’s personal space, placed Plaintiff in

apprehension that he would, at any time, touch her in a sexually inappropriate manner.

       100101)         Wade Johnson’s touching and invasion of the personal, physical space of

Ms. Young was performed intentionally.

       101102)         As a result of the defendants’ actions, the Plaintiff suffered and continues

to suffer severe mental anguish as well as physical pain and suffering.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.




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                                   JURY TRIAL DEMAND

       The Plaintiff demands trial by jury.

Respectfully submitted,

HANSEL LAW, PC                                     HIRSCH & COSCA, PC


_______/s/_____________                            ________/s/____________
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